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OFFICE OF THE FEDERAL DEFENDER
EASTERN DISTRICT OF CALIFORNIA
801 ISTREET, 3rd FLOOR
SACRAMENTO, CALIFORNIA 95814

Danial J, Broderick (916) 498-5700 Fax: (916) 498-5710 Linda Harter
Federal Defender Chief Assistant Defander

March 12, 2007

Mr. John Ward

Attorney at Law

584 Castro, #802

San Francisco, CA 94114

Re: Michael Anthony v. Lewis, Warden
Civ.S-02-081-FCD

 

Dear Mr. Ward:

This will confirm your appointment as counsel by the Honorable Frank C. Damrell, U.S.
District Judge, to represent the above-named appellant. You are attorney of record until such
time as you are relieved or other action is taken to appoint a different attorney.

Enclosed is CJA 20 form, your Order of Appointment and Voucher for services
rendered. Also enclosed is an instruction sheet discussing the use of the forms, together with
sample forms for reporting court time. This will also provide a uniformity in the way attorneys
report their time and services rendered.

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If we may be of any further assistance regarding the processing of the enclosed form,
preparation of form CJA 21 for expert services, or in reference to any other matter pertaining
to this case, please feél free to call upon us at any time.

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Very traly” yours,
Ce

CY les COMPTON
CJA Panel Administrator

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Enclosures

cc: Clerk's Office
Ninth Circuit
Case 2:02-cv-00081-FCD-JFM Document 38 Filed 03/12/07 Page 2 of 4

 

 

 

 

 

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2. IN COURT COME.

 

 

HM. SIGNATURE OF THE PRESIDING JUDICIAL OFFICER DATE ™ JUDGE / MAG. JUDGE CODE

 

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Case 2:02-cv-00081-FCD-JFM Document 38 Filed 03/12/07 Page 3 of 4

UNITED STATES COURT OF APPEALS

FILED

 

FOR THE NINTH CIRCUIT
FEB 0 8 2007
CAUSA
MICHAEL ANTHONY, No, 06-15316
Petitioner - Appellant, D.C. No. CV-02-00081-FCD
Eastern District of California,
Vv. Sacramento
GAIL LEWIS, Warden,
ORDER
~ Respondent - Appellee.

 

 

Before: Peter L. Shaw, Appellate Commissioner

Appellant's motion for appointment of counsel in this habeas corpus appeal
is granted, See 18 U.S.C. 3 § 3006A(a)(2\(B); Weygandt v. ‘Look, 718 F.2d 952, 954
(9th Cir. 1983) (per curiam). Counsel will be appointed by separate order. |

The Clerk shall serve a copy of this order on Daniel Broderick, Federal
Public Defender, 801 I Street, 3rd Floor, Sacramento, California 95814, who will
locate appointed counsel. The district court shall provide the Clerk of this court
with the name and address of appointed counsel by facsimile transmission (FAX:
(415) 556-6228) within 14 days of locating counsel. Ifnew counsel identifies
uncertified issues that should be raised on appeal, counsel shall include them in
the opening brief as permitted by Ninth Circuit Rule 22-1 (e).

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Case 2:02-cv-00081-FCD-JFM Document 38 Filed 03/12/07 Page 4 of 4

06-15316

The opening brief and excerpts of record are due April 6, 2007; the
answering brief is due May 7, 2007; and the optional reply bref is due within 14
days after service of the answering brief.

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_Grerreral Order 6.3(e)

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